Case 1:16-cv-01031-TSE-MSN Document 464 Filed 06/07/19 Page 1 of 2 PageID# 8869




                                  UNITED STATES DISTRICT COURT

                                   EASTERN DISTRICT OF VIRGINIA

                                            (Alexandria Division)


     STEVEN KNURR,Individually and on Behalf               Civil Action No. 1:16-cv-01031-TSE-MSN
     of All Others Similarly Situated,
                                                           CLASS ACTION
                                    Plaintiff,

            vs.



     ORBITAL ATK,INC., et al..

                                    Defendants.




                             ORDER APPROVING PLAN OF ALLOCATION


            This matter having come before the Court on June 7,2019,on Plaintiffs' motion for approval

     ofthe Plan ofAllocation in the above-captioned action; the Court having considered all papers filed

     and proceedings conducted herein and otherwise being fully informed in the premises;

            IT IS HEREBY ORDERED,ADJUDGED,AND DECREED that:

             1.     This Order incorporates by reference the definitions in the Settlement Agreement

     dated January 30, 2019 (the "Stipulation"), and all capitalized terms used, but not defined, herein

     shall have the same meanings as set forth in the Stipulation.

            2.      Pursuant to and in full compliance with Rule 23 of the Federal Rules of Civil

     Procedure, this Court hereby finds and concludes that due and adequate notice was directed to all

     persons who are Class Members who could be identified with reasonable effort, advising them ofthe

     Plan ofAllocation and oftheir right to object thereto,and a full and fair opportunity was accorded to

     all persons and entities who are Class Members to be heard with respect to the Plan of Allocation.

     There are no objections by any Class Member to the proposed Plan of Allocation.



                                                      1-
Case 1:16-cv-01031-TSE-MSN Document 464 Filed 06/07/19 Page 2 of 2 PageID# 8870
